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                                              OBJECTIONS KEY


     A = Argumentative
     AA = Asked and Answered
     Adv = Improper Advocacy; Advocacy
     Auth = Authenticity
     BOL = Bolstering; Improper Bolstering
     CC = Colloquy Commentary; Counsel Commentary; Counsel testifying
     COT = Calls for Opinion Testimony
     CP = Compound Question; Compound
     CU = Cumulative
     F = Foundation (or lack of foundation)
     J = Journalist Privilege
     H = Hearsay
     IC = Improper Composite Exhibit
     ID = Incomplete Document
     IH = Improper Hypothetical
     Inc. Desig. = Incomplete Designation / Improper Designation
     L = Leading
     LEC= Calls for Legal Conclusion
     MIS = Misleading
     MCD = Mischaracterizes Contents of Document
     MPT = Mischaracterizes Prior Testimony
     NA = No Answer
     NAR = Narrative
     NQ = No Question
     O = Opinion Testimony, Improper Lay Opinion
     P = Privilege
     PK = No Personal Knowledge, Lacks Knowledge
     R = Relevance (or irrelevance), Pending, Not Probative, Immaterial, Non-responsive
     S = Speculation
     SU = Suplersage
     UD = Untimely Designation
     UP = Unduly Prejudicial, Unfairly Prejudicial
     UQ = Unresponsive to Question
     V = Vague
